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                             UNITED STATED DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS                                                CIVIL ACTION NO.

VERSUS                                                      21-198-SDD-EWD

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                     ORDER OF RECUSAL

          IT IS ORDERED that Magistrate Judge Erin Wilder-Doomes is RECUSED from this

matter.

          Signed in Baton Rouge, Louisiana, on April 8, 2021.



                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE
